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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 20-CV-81205-RAR

    SECURITIES AND EXCHANGE
    COMMISSION,

                        Plaintiff,

           v.

    COMPLETE BUSINESS SOLUTIONS
    GROUP, INC. d/b/a PAR FUNDING, et al.

                        Defendants.
                                                    /

    ORDER GRANTING RECEIVER’S SIXTH APPLICATION FOR ALLOWANCE AND
     PAYMENT OF PROFESSIONALS’ FEES AND REIMBURSEMENT OF EXPENSES
                  FOR OCTOBER 1, 2021 – DECEMBER 31, 2021

          THIS CAUSE comes before the Court upon Receiver Ryan K. Stumphauzer’s Sixth

   Application for Allowance and Payment of Professionals’ Fees and Reimbursement of Expenses

   for October 1, 2021 – December 31, 2021 [ECF No. 1153] (“Application”), filed on February 15,

   2022. The Court has carefully reviewed the Application, Defendant’s opposition thereto [ECF No.

   1173], and is otherwise fully advised.

          This is a complex receivership involving the operation of a merchant cash advance business

   with a receivable balance, as of the date the Receivership was established, of over $400 million,

   and a group of investors that are seeking, collectively, more than $300 million dollars from the

   company. The Receiver and his professional team are managing numerous operational issues

   involving more than 1,300 merchants that are parties to merchant cash advance agreements with

   Par Funding. The Application and records submitted by the Receiver reflect that the Receiver and

   his professional team have reasonably and diligently discharged their duties.



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          The Receiver’s tasks in this case have included negotiating with Par Funding’s merchants

   in an effort to reach settlements of MCA account balances; employing consultants to oversee and

   manage Par Funding; pursuing various claims against non-parties that may generate additional

   income to the Receivership Estate; assuming responsibilities over various residential and

   commercial properties; responding to issues and document requests related to pending litigation

   and investigations involving the Receivership Entities; communicating with the Defendants and

   responding to discovery requests; and drafting status reports for the Court.

          In performing these tasks, among others, the Receiver and his professional team have

   provided a significant benefit to the Receivership Estate, investors, and creditors at rates that the

   Court finds reasonable. Accordingly, it is hereby

          ORDERED AND ADJUDGED that the Application [ECF No. 1153] is GRANTED as

   follows:

          Professional Fees:      $ 1,427,525.50

          Expenses:               $ 100,538.81

          TOTAL:                  $ 1,528,064.31

          DONE AND ORDERED Fort Lauderdale, Florida, this 2nd day of March, 2022.




                                                         __________________________________
                                                         RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE


   Copies to: Counsel of Record




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